                                      No. 23-2248

                        UNITED STATES COURT OF APPEALS
                            FOR THE EIGHTH CIRCUIT


   Kristin Worth; Austin Dye; Axel Anderson; Minnesota Gun Owners Caucus;
         Second Amendment Foundation; Firearms Policy Coalition, Inc.,

                                                 Plaintiffs-Appellees

                                           vs.

       Bob Jacobson, in his individual capacity and in his official capacity as
          Commissioner of the Minnesota Department of Public Safety,

                                                 Defendant-Appellant

  Kyle Burton, in his individual capacity and in his official capacity as Sheriff of Mille
   Lacs County, Minnesota; Dan Starry, in his individual capacity and in his official
     capacity as Sheriff of Washington County, Minnesota; Troy Wolbersen, in his
individual capacity and in his official capacity as Sheriff of Douglas County, Minnesota

                                                 Defendants

    APPEAL FROM THE U.S. DISTRICT COURT FOR THE DISTRICT OF MINNESOTA
                       No. 21-cv-01348 (KMM/LIB)

               PETITION FOR REHEARING OR REHEARING EN BANC

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                 STATEMENT SUPPORTING REHEARING

       The common sense gun regulation at issue here is limited and temporary.

Minnesota allows significant access to guns by young people. Minnesota does not

restrict the possession or use of firearms by youths of any age when supervised by

parents or guardians. Minn. Stat. § 624.713, subd. 1(1); Minn. Stat. § 97B.021. By

age 14, teenagers may possess guns on their property or when hunting without

parental supervision if they obtain a firearms safety certificate. Minn. Stat. §

97B.021. And by age 18, young people may possess a pistol or semiautomatic

assault weapon in those same situations. Id.; Minn. Stat. § 624.713, subd. 1(1).

       Against that backdrop, Minnesota’s legislature imposed a modest restriction:

young people may not obtain a permit to carry a pistol in public until age 21. Minn.

Stat. § 624.714, subd. 2(b)(2) (the Challenged Statute). Minnesota’s law has been

in effect for two decades. Thirty states and the District of Columbia have similar

regulations.1


1
 15 jurisdictions limit those under 21 from any public carry. Conn. Gen. Stat. §§
29-28, 29-36f; Del. Code Ann. tit. 11, § 1448(a)(5); Fla. Stat. §§ 790.06, 790.053;
Ga. Code Ann. §§ 16-11-125.1(2.1), 16-11-126(g)(1), 16-11-129(b)(2)(A); Haw.
Rev. Stat. § 134-9(a)(6); 430 Ill. Comp. Stat. 66/25; Md. Code Ann., Pub. Safety §§
5-306(a)(1), 5-133(d)(1); Mass. Gen. Laws ch. 140, § 131(d)(iv); N.J. Stat. Ann. §
2C:58-3(c)(4); N.Y. Penal Law § 400.00(1)(a); Okla. Stat. tit. 21 § 1272(A)(6); R.I.
Gen. Laws §§ 11-47-11, 11-47-18; S.C. Code Ann. § 23-31-215(A); D.C. Code § 7-
2509.02(a)(1). 19 additional states bar people under 21 from concealed public carry.
Alaska Stat. §§ 11.61.220(a)(6), 18.65.705; Ariz. Rev. Stat. Ann. §§ 13-3102(A)(2),
13-3112(E); Ark. Code Ann. § 5-73-309; Colo. Rev. Stat. § 18-12-203(1)(b); Ky.
(Footnote continued on next page)

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       Two weeks ago, a panel of this Court held Minnesota’s restriction

unconstitutional. In doing so, it became the first federal circuit to strike down a

general age-based gun regulation.2 It also became the first federal circuit to address

a Second Amendment challenge after the Supreme Court decided United States v.

Rahimi, 602 U.S. __, 144 S. Ct. 1889 (2024), which offers important guidance on

analyzing those challenges. The panel issued its decision without giving the parties

an opportunity to address the impact of Rahimi or significant new decisions from the

Supreme Court on standing.3

       The panel’s decision conflicts with those new decisions. It also conflicts with

recent decisions of this Court, which anticipated Rahimi’s focus on principles rather

than analogues. E.g., United States v. Veasley, 98 F.4th 906 (8th Cir. 2024).




Rev. Stat. Ann. § 237.110; La. Stat. Ann. § 40:1379.3(C)(4); Mich. Comp. Laws §
28.425b(7)(a); Neb. Rev. Stat. § 69-2433; Nev. Rev. Stat. § 202.3657; N.M. Stat.
Ann. § 29-19-4(A)(3); N.C. Gen. Stat. § 14-415.12(a)(2); Ohio Rev. Code Ann. §
2923.125(D)(1)(b); Or. Rev. Stat. § 166.291; 18 Pa. Cons. Stat. § 6109; Utah Code
Ann. §§ 76-10-505, 76-10-523(5); Va. Code Ann. § 18.2-308.02; Wash. Rev. Code
§ 9.41.070; Wis. Stat. § 175.60(3)(a); Wyo. Stat. Ann. § 6-8-104(a)(iv), (b)(ii).
2
 The statute declared unconstitutional in Lara v. Commissioner Pennsylvania State
Police, 91 F.4th 122 (3d Cir. 2024), was limited to restricting young people’s public
gun use during a state of emergency.
3
  Compare Reese v. Bureau of Alcohol Tobacco, Firearms & Explosives, No. 23-
30033 (5th Cir. argued Nov. 6, 2023) (requesting letter briefs addressing Rahimi on
July 8, 2024).

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       In addition to creating conflicts with Supreme Court and intra-circuit

precedent, the panel decision meets the criteria for en banc review because it

addresses exceptionally important legal issues, including: (1) Did Minnesota provide

sufficient evidence of a principle that young people’s public use of guns can be

restricted?;4 and (2) Must the members of an organization that the organization relies

on for standing have been members at the start of the case, or at least identified in

district court? See Fed. R. App. P. 35(a). One federal circuit has already

acknowledged that the first issue meets the standard for rehearing. Nat’l Rifle Ass’n

v. Bondi, 72 F.4th 1346, 1347 (11th Cir. 2023) (mem.).

       These issues are exceptionally important because lives are at stake.

Minnesota’s expert reported that “in 2019, the single most homicidal age group in

the nation was age 19, with both 18- and 20-year-olds having higher murder arrest

rates than any other age groups except for age 19.” App. 114; R. Doc. 50-1, at 12.

That age group is not just homicidal generally; it “has long been recognized as the

most likely to use firearms to commit homicides and other violent crimes.” App.

116; R. Doc. 50-1, at 14.




4
  Because Rahimi did not address the first step of the Bruen analysis—the step
interpreting the scope of the plain text of the Second Amendment—Minnesota does
not request rehearing of its arguments on the first step. It reserves its right to raise
them in any later proceedings, however.

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        Minnesota respectfully seeks rehearing or rehearing en banc on the Second

Amendment and standing issues. Alternatively, if the Court does not rehear the

Second Amendment issue, it should vacate the panel opinion and remand to the

district court to address standing.

                                      ARGUMENT

I.      THE PANEL’S SECOND AMENDMENT ANALYSIS IS INCONSISTENT WITH
        RAHIMI AND EIGHTH CIRCUIT PRECEDENT.

        By discounting Minnesota’s evidence of principles that support the

Challenged Statute and instead nit-picking each regulation that Minnesota offered

as an inadequate analogue, the panel decision conflicts with Rahimi and recent

decisions of this Court.

        A.    After Rahimi, the Appropriate Focus Is on Historical Principles,
              Not Individual Analogues.

        The Supreme Court acknowledged in Rahimi that “some courts have

misunderstood the methodology of our recent Second Amendment cases.” 144 S. Ct.

at 1897. In particular, the Fifth Circuit had misunderstood its task when assessing

whether a federal statute criminalizing firearm possession by those subject to a

domestic violence restraining order violated the Second Amendment. The Fifth

Circuit rejected every historical regulation offered by the government by looking for

the equivalent of a “historical twin.” Id. at 1903 (quoting N.Y. State Rifle & Pistol

Ass’n v. Bruen, 597 U.S. 1, 30 (2023)). For example, it held that “going armed laws”

were not sufficiently analogous because they were “disarming those who had been

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adjudicated to be a threat to society generally, rather than to identified individuals.”

United States v. Rahimi, 61 F.4th 443, 459 (5th Cir. 2023). And it concluded that

surety laws were not sufficiently analogous because they “did not prohibit public

carry, much less possession of weapons, so long as the offender posted surety.” Id.

at 460.

      Yet, the Supreme Court found that “[t]aken together, the surety and going

armed laws confirm what common sense suggests: When an individual poses a clear

threat of physical violence to another, the threatening individual may be disarmed.”

Rahimi, 144 S. Ct. at 1901. The current law “does not need” to be “identical to these

founding era regimes,” id., but only “‘consistent with the Nation’s historical tradition

of firearm regulation,’” id. at 1896 (quoting Bruen, 597 U.S. at 24). The critical

question is “whether the challenged regulation is consistent with the principles that

underpin our regulatory tradition.” Id. at 1898 (emphasis added) (citing Bruen,

597 U.S. at 26–31). The Court disavowed multiple times the need for historical

regulations that were a perfect match for current statutes. Id. at 1897, 1898.

      B.     The District Court and Panel in this Case Committed the Same
             Errors as the Fifth Circuit in Rahimi.

      Rahimi’s clarification is critical here and requires rehearing and reversal. Like

the Fifth Circuit, the district court in this case misunderstood what Bruen demanded.

The district court performed a hypercritical analysis of each historical analogue

offered by Minnesota, finding each wanting. Add. 20–38; App. 20–35; R. Doc. 84,


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at 20–38. But, like the Fifth Circuit in Rahimi, the district court did not understand

that it could consider all the evidence cumulatively proffered by Minnesota and

evaluate whether a consistent principle of regulation supported the Challenged

Statute.

       Instead of correcting the district court’s error, the panel decision repeats it. It

never once attempts to identify the principle or principles that underpin our nation’s

long tradition of regulating public gun use by young people as required by Rahimi.

See generally Op. 17–27. Instead, it demanded of Minnesota “an adequate historical

analogue” that was “well-established and representative,” id. 17, and examined each

analogue proffered by Minnesota in isolation for an exacting review of its “how”

and “why,” id. 21–27.

       C.    The Panel Created an Intra-Circuit Conflict.

       The panel also created an intra-circuit analytical split with United States v.

Veasley, 98 F.4th 906 (8th Cir. 2024) and United States v. Jackson, 69 F.4th 495

(8th Cir. 2023).5 Both decisions were issued before Rahimi but appropriately

conducted the Second Amendment analysis at the level of principles.

       In Veasley, the facial challenge was to a federal statute criminalizing

possessing a firearm when unlawfully using drugs. 98 F.4th at 908. This Court



5
  After Rahimi, the Supreme Court granted certiorari and vacated judgment in
Jackson. No. 23-6170, 2024 WL 3259675 (U.S. July 2, 2024).

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upheld the statute, although it found no colonial-era regulations that disarmed people

for drinking or using drugs. Id. at 912. Despite that dearth of evidence, the court

reviewed two different types of restrictions and “reason[ed] by analogy.” Id. It

concluded that the tradition of confining the mentally ill imposed more “heavy-

handed” burdens than did the statute under review. Id. at 915. It also considered the

“going armed laws,” reasoning that they criminalized the possession of a gun while

engaging in offensive behavior, just like the statute under review. See id. at 916–18.

The Veasley opinion accurately predicted Rahimi’s emphasis on principles, not

carbon copy analogues.

       Jackson is the same story. It surveyed hundreds of years of history and

identified two principles from that precedent. Id. at 502–06. The first principle

related to disarming categories of people deemed to threaten societal order, and the

second disarming people deemed dangerous. Because either principle supported

disarming convicted felons, this Court found the statute passed constitutional muster.

Although Jackson was vacated and remanded after Rahimi, nearly every federal

court to address the same statute has affirmed its constitutionality.6 Plus, Rahimi




6
 Jacob Charles, One Year of Bruen’s Reign: An Updated Empirical Analysis, Duke
Center for Firearms Law (July 7, 2023), https://perma.cc/WW86-B7A8 (finding
only one court decision held the federal prohibition on felon possession of firearms
unconstitutional while 160 upheld it during year after Bruen).

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said the statute is presumptively constitutional, so there is no reason to believe this

Court will now find no historical principles to support it.

         The panel decision conflicts with the method of analysis in Veasley and

Jackson. Those cases canvassed the legal landscape to identify historical analogues

to the criminal statutes in question, and extracted principles from those (admittedly

imperfect) analogues. In contrast, this panel decision, issued with the benefit of

Rahimi, made no attempt to discern any principles from the common law history and

tradition of regulation that Minnesota supplied.

II.      THE CHALLENGED STATUTE SHOULD BE UPHELD UNDER RAHIMI.

         If the panel decision properly applied Rahimi, it would have concluded that

the Challenged Statute “is consistent with the principles that underpin our regulatory

tradition.” Rahimi, 144 S. Ct. at 1891 (citing Bruen, 597 U.S. at 26–31). From the

founding era to Reconstruction and beyond, the nation has a strong regulatory

tradition of age-based restrictions on public firearm use for those under 21 years old.

Minnesota’s limited, temporary restriction on firearm access for 18- to 20-year-olds

“fits neatly” within this regulatory tradition and flows from the same principles that

undergird similar regulations throughout our nation’s history. Id. at 1901.

         The panel decision departs from Rahimi in holding otherwise. In particular,

the panel misapplied Rahimi to founding-era and 19th-century evidence. The panel

also misconstrued Rahimi’s guidance on dangerousness.



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      A.     The Panel Decision Misapplied Rahimi to the Founding-Era
             Evidence.

      Critically, the panel decision acknowledged—but then ignored—the common

law. At the founding, the common law rule was that 18- to 20-year-olds were not

adults but “infants” in the eyes of the law with limited legal capacity and rights. The

panel decision alluded to this background rule, conceding that, “Minnesota cites

common law evidence that (as minors) 18- to 20-year-olds did not have full rights.”

Op. 21. The panel decision also recognized that “the common law ‘is part of the

historical tradition that delimits the outer bounds of the right to keep and bear arms.’”

Id. (quoting Bruen, 597 U.S. at 19).

      But the panel trivialized the common law and other founding-era sources,

faulting Minnesota for a lack of “analogues.” Id. 21, 23, 26. But under Rahimi, the

panel should have focused on principles—not analogues.                The panel then

compounded its methodological error by misconstruing the founding-era evidence.

Minnesota’s expert established—and the panel agreed—that the common law itself

restricted the rights of minors until they reached the age of 21. See Op. 21; App.

53–169; R. Doc. 50-1, at 10–12; see also Brown v. Ent. Merchs. Ass’n, 564 U.S.

786, 822–23 (2011) (Thomas, J., dissenting) (“The historical evidence shows that

the founding generation believed parents had absolute authority over their minor

children . . . .” (emphasis added)). The common law thus establishes a broader

background principle: that restrictions on legal rights until the age of 21 are part of


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the nation’s historical tradition. Rahimi required the panel to ascertain and grapple

with that principle. It did not.

      Moreover, by demanding “overly specific analogues,” the panel made a

flawed inference from legislative silence, assuming “that founding-era legislatures

maximally exercised their power to regulate.” Rahimi, 144 S. Ct. at 1925 (Barrett,

J., concurring). That assumption has “serious problems” because it adopts “a ‘use it

or lose it’ view of legislative authority.”     Id.   But even beyond that flawed

assumption, the panel misapprehended the import of the founding-era statutes. The

militia statutes underscore that 18- to 20-year-olds lacked an independent right to

publicly carry firearms beyond the context of the militia, where they were subject to

“military order, discipline, and law.” App. 53–169; R. Doc. 50–1, at 12. Indeed, if

18- to 20-year-olds had an independent right to possess firearms in public, then state

militia laws would not have needed to create special rules for those under 21 years

old. See, e.g., 1785 Del. Laws 59, §§ 7–8; 1776 Acts & Laws of the Colony of N.H.

36, 39 (1776).

      B.     The Panel Decision Misapplied Rahimi to the 19th-Century
             Evidence.

      The remainder of the panel decision suffers from the same analytical defects.

Most significantly, the panel discounted the overwhelming 19th-century evidence

that supports modest and temporary age restrictions on the public carry of firearms.




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      The panel’s approach reflected a hunch about how the Supreme Court may

rule in the future. At the outset of its analysis, the panel questioned whether

“Reconstruction-era sources have much weight,” and confidently asserted that

“postenactment history of the Fourteenth Amendment is not given weight.” Op. 24

(emphasis added).

      But as Rahimi reiterated, the Supreme Court has yet to resolve this issue.

144 S. Ct. at 1898 n.1 (declining to wade into “ongoing scholarly debate”). And the

Supreme Court’s major Second Amendment cases have repeatedly considered—and

found relevant—statutes, case law, and other legal sources from the 19th century.

See, e.g., District of Columbia v. Heller, 554 U.S. 570, 605–26 (2008) (examining a

variety of legal sources “through the end of the 19th century”); accord Rahimi, 144

S. Ct. at 1899–1901 (citing Massachusetts surety statute from 1836 and “going

armed” prohibitions from 1843 and 1849); Bruen, 597 U.S. at 60–66 (analyzing

evidence “from around the adoption of the Fourteenth Amendment”); McDonald v.

Chicago, 561 U.S. 742, 770–78 (2010) (plurality opinion) (analyzing understanding

of right to keep and bear arms in 1868). True, the Court has cautioned that

post-ratification history cannot override text. Bruen, 597 U.S. at 35–36. But unless

and until the Supreme Court designates 19th-century evidence off limits, lower

federal courts must give it careful, nuanced consideration.




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      The panel decision did not do that here. Although the panel acknowledged

that “Minnesota proffer[ed] 20 state laws from the Reconstruction-era and late 19th

Century that in some way limit the Second Amendment rights of those under 21

years old,” the panel refused to draw or consider principles from those laws. Op. 25.

Instead, it focused on minor differences in the “how” of each regulation, in essence

requiring Minnesota to identify a historical twin. Id. 25–26. The panel thus held

Minnesota to a standard that Rahimi rejected, and the Second Amendment does not

demand.

      C.     The Panel Decision Conflicts With Rahimi on Dangerousness.

      The panel’s approach to dangerousness also conflicts with Rahimi. Minnesota

presented robust historical evidence—from the founding era and beyond—that

legislatures have long denied firearms to categories of people who pose (or are

perceived to pose, rightly or wrongly) special dangers. In the language of Rahimi,

this historical tradition reveals a principle: that a legislature may disarm a group of

people who pose special dangers of misusing firearms, such as minors or the

mentally ill, for public safety.

      The panel decision did not try to derive a dangerousness principle from

history. Instead, the panel simply decided that Minnesota’s evidence of the danger

posed by 18- to 20-year-olds was insufficient. Op. 19–20. But the panel should not




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have proceeded to weigh the evidence without identifying the principle underlying

the (undisputed) tradition of disarming groups thought to be particularly dangerous.

       By failing to focus on history and principles, the panel conducted exactly the

type of freewheeling interest balancing, or means-end scrutiny, that the Supreme

Court has rejected. Bruen, 597 U.S. at 22–24. The panel claimed, for example, that

Minnesota’s “general crime statistics” were inadequate, although it did not dispute

the accuracy of the statistics. Op. 20. The panel also rejected Minnesota’s expert

on the special dangers posed by 18- to 20-year-olds because the report was “prepared

solely for this case,” and cited data that Minnesota’s legislature “could not have

relied on” when enacting the underlying law. Id.

       None of these criticisms pertain to the historical inquiry. Under Bruen, much

less Rahimi, the question is not whether a modern firearms law is good policy, but

whether the historical record supports the challenged law. The panel evaded that

question; the full Circuit should consider it.7




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  Moreover, to the extent the panel weighed the evidence of dangerousness, it was
inappropriate to do so for the first time on appeal. The district court declined to
consider the (undisputed) evidence of the special risks posed by 18- to 20-year-olds
because it “belong[ed] to a regime of means-end scrutiny scuttled by Bruen.”
Add. 39; App. 39; R. Doc. 84, at 39. To the extent that evidence is relevant—and
the panel found it was—the panel should have remanded to the district court.

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III.   THE PANEL DECISION CONFLICTS WITH SUPREME COURT PRECEDENT ON
       STANDING.

       In addition to creating conflicts with its Second Amendment analysis, the

panel decision also created conflicts with its jurisdictional analysis.

       Before oral argument, Minnesota asserted this case was moot, because the

three young adults the organizational plaintiffs had relied on for standing had all

turned 21 by December 2023. Nevertheless, the panel allowed those organizations

to supplement the record by obtaining and naming a new 19-year-old member-

plaintiff, who was never identified in district court and who the panel found

sufficiently supported their organizational standing. That decision conflicts with the

Supreme Court’s end-of-term decisions reiterating the importance of standing

doctrines to maintain appropriate separation of powers. E.g., FDA v. All. for

Hippocratic Med., 602 U.S. 367, 378 (2024); Murthy v. Missouri, 144 S. Ct. 1972,

1986 (2024).

       In Murthy, the Supreme Court noted: “The plaintiff ‘bears the burden of

establishing standing as of the time [s]he brought th[e] lawsuit and maintaining it

thereafter.’” 144 S. Ct. at 1986 (alterations in original) (quoting Carney v. Adams,

592 U.S. 53, 59 (2020)). The organizational plaintiffs here cannot meet that burden.

They rely exclusively for appellate standing on an individual who did not become a

member until this case was on appeal. But Murthy does not say a plaintiff with

standing at the time of suit can simply ensure that someone maintains standing


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thereafter. It says “[t]he plaintiff” who brings the suit must have continuous

standing, id., and for an organization, that means the organization’s members at the

time of filing the lawsuit must support standing throughout the litigation. In

response to Minnesota’s motion to dismiss, the organizational plaintiffs could cite

no precedential case allowing an organization to add a new member on appeal in

order to maintain its Article III standing.8

       The panel decision did not cite any of the significant 2024 Supreme Court

cases regarding standing. Nor did the panel invite the parties to address them.

Instead, the panel decision supported its jurisdictional decision primarily with a 2015

dissent from Justice Scalia. Op. 8 (citing Ala. Legis. Black Caucus v. Alabama,

575 U.S. 254, 285–86 (2015) (Scalia, J., dissenting)). In his dissent, Justice Scalia

cited an earlier decision allowing a plaintiff to identify additional members while a

case was on appeal. Ala. Legis. Black Caucus, 575 U.S. at 286 (discussing Parents

Involved in Cmty. Schs. v. Seattle Sch. Dist. No. 1, 551 U.S. 701, 718 (2007)). No

source, however, suggests that the members identified had not been members when

the case was initiated. See id. (noting that plaintiff was an organization of parents




8
  The panel correctly notes that both the Third and Fifth Circuits have allowed
similar substitution in their cases involving 18- to 20-year-olds challenging gun
regulations. Op. 7–8. But those orders also lack any citation to precedent
authorizing a wholesale change to standing on appeal.

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who identified some of their children in district court, and additional children of

same parents to prove case was not moot later).

      The panel’s decision to base Article III standing on a post-appeal declaration

is egregious for two additional reasons.       First, Minnesota could not conduct

discovery of the single declarant supporting all plaintiffs’ standing, given his late

identification. Discovery could reveal that he is otherwise ineligible. For example,

on its face, the declaration shows Mr. Knudsen has not taken the required safety

training to obtain a permit. In other words, even if the age limit were modified, he

could not immediately obtain a permit.

      And second, the panel’s approach opens the door for large associations having

standing to challenge any and all regulations at state and national levels, serving as

an end run around our requirements for class actions. All. for Hippocratic Med., 602

at 399–400 (Thomas, J., concurring). Indeed, if an organization could sue on behalf

of the members it has when it initiates a lawsuit and continually swap out the

members on which it relies for standing, it could become a group of “citizens who

might roam the country in search of governmental wrongdoing,” an anathema to the

concept of Article III standing. Id. at 379 (internal quotation omitted).

      Because the standing issue involves questions of fact, this Court should grant

rehearing to vacate the panel decision and remand to district court for a fuller

determination of the plaintiffs’ continued standing.


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                                   CONCLUSION

      For all these reasons, the panel should grant rehearing or the Court should

grant rehearing en banc. At minimum, the Court should vacate the panel opinion

and remand to the district court to address standing.



Dated: July 30, 2024                 Respectfully submitted,

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                       CERTIFICATE OF COMPLIANCE
                             WITH FRAP 32(a)

      1.     This petition complies with the type-volume limitation of Fed. R. App.

P. 35(b)(2)(A) because this brief contains 3,888 words, excluding the parts of the

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Dated: July 30, 2024                       s/ Liz Kramer
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